Case 20-71227-pmb     Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08   Desc Main
                               Document      Page 1 of 28




                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                   CHAPTER 11
 GOOD DEED 317, LLC,
                                                   CASE NO. 20-71227-PMB
          Debtor.

                     AMENDED DISCLOSURE STATEMENT FOR
                      AMENDED PLAN OF REORGANIZATION

                       Dated this 11th day of December, 2020
 ____________________________________________________________________________

                                       Filed by:

                                  Good Deed 317, LLC

                                   Attorneys for Debtor
                                  Cameron M. McCord
                                  Jones & Walden, LLC
                                699 Piedmont Avenue, NE
                                 Atlanta, Georgia 30308
                                     (404) 564-9300




                                          1
Case 20-71227-pmb        Doc 35     Filed 12/11/20 Entered 12/11/20 15:05:08              Desc Main
                                   Document      Page 2 of 28




I.     Introduction and General Information

       This amended disclosure statement (“Disclosure Statement”) is submitted by Good Deed
317, LLC (“Debtor”) to provide information to parties in interest about the Chapter 11 Plan (the
“Plan”) filed by Debtor. This introductory section is qualified in its entirety by the detailed
explanations which follow and the provisions of the Plan.

        This Disclosure Statement sets forth certain information regarding Debtor’s prepetition
history and events that have occurred during Debtor’s Chapter 11 case. This Disclosure Statement
also describes the Plan, alternatives to the Plan, effects of confirmation of the Plan, and the manner
in which Distributions will be made under the Plan. In addition, this Disclosure Statement
discusses the confirmation process and voting procedures that holders of Claims in Impaired
Classes must follow for their votes to be counted.

            Parties voting on the Plan should read both the Plan and this Disclosure Statement.

       A.       Definitions

        Unless otherwise defined, capitalized terms used in this Disclosure Statement have the
meanings ascribed to them in the Plan. In the event of an inconsistency between the Disclosure
Statement and the Plan, the terms of the Plan shall govern and such inconsistency shall be resolved
in favor of the Plan. The Filing Date, as defined in the Plan, shall mean October 29, 2020 and the
Effective Date, as defined in the Plan, shall mean the date that is 60 days after the entry of a
Confirmation Order.

       B.       The Disclosure Statement

        The primary purpose of this Disclosure Statement is to provide parties entitled to vote on
the Plan with adequate information so that they can make a reasonably informed decision prior to
exercising their right to vote to accept or reject the Plan.

        The Bankruptcy Court’s approval of this Disclosure Statement constitutes neither a
guaranty of the accuracy or completeness of the information contained herein, nor an endorsement
of the Plan by the Bankruptcy Court.

        When and if confirmed by the Bankruptcy Court, the Plan will bind Debtor and all holders
of Claims against and Interests in Debtor, whether or not they are entitled to vote or did vote on
the Plan and whether or not they receive or retain any Distributions or property under the Plan.
Thus, you are encouraged to read this Disclosure Statement carefully. In particular, holders of
Impaired Claims who are entitled to vote on the Plan are encouraged to read this Disclosure
Statement, the Plan, and any exhibits to the Plan and Disclosure Statement, carefully and in their
entirety before voting to accept or reject the Plan. This Disclosure Statement contains important
information about the Plan, the method and manner of distributions under the Plan, considerations
pertinent to acceptance or rejection of the Plan, and developments concerning this case.



                                                  2
Case 20-71227-pmb         Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08               Desc Main
                                   Document      Page 3 of 28



II.    Voting on the Plan and Confirmation Process

       A.      Voting Instructions

        Accompanying this Disclosure Statement are copies of the following documents: (1) the
Plan; and (2) a Ballot to be executed by holders of Claims to accept or reject the Plan. The Ballot
contains voting instructions. Please read the instructions carefully to ensure that your vote will
count.

       The Disclosure Statement, the form of Ballot, and the related materials delivered together
herewith (collectively, the “Solicitation Package”), are being furnished to Holders of Claims in
Classes 1 through 8 for the purpose of soliciting votes on the Plan.

       If you did not receive a Ballot in your Solicitation Package, and believe that you should
have received a Ballot, please contact, Jones & Walden, LLC, 699 Piedmont Avenue, NE, Atlanta,
Georgia, 30308, (404) 564-9300 (Attn: Cameron M. McCord, Esq.).

       In order for your Ballot to count, it must be received within the time indicated on the
Ballot and the Ballot must clearly indicate your Claim, the Class of your Claim and the
amount of your Claim.

        By enclosing a Ballot, Debtor is not admitting that you are entitled to vote on the Plan,
is not admitting that your Claim is allowed as set forth on the Ballot, and is not waiving any
right to object to your vote or your Claim.

       B.      Who May Vote

        Only a holder of an Allowed Claim classified in an Impaired Class is entitled to vote on
the Plan. As set forth in section 1124 of the Bankruptcy Code, a class is “Impaired” if legal,
equitable, or contractual rights attaching to the claims or equity interests of that class are modified
or altered.

       Any class that is “unimpaired” is not entitled to vote to accept or reject a plan of
reorganization and is conclusively presumed to have accepted the Plan.

        A Claim must be “allowed” for purposes of voting in order for such creditor to have the
right to vote. Generally, for voting purposes a Claim is deemed “allowed” absent an objection to
the Claim if (1) a proof of claim was timely filed, or (ii) if no proof of claim was filed, the Claim
is identified in a Debtor’s Schedules as other than “disputed,” “contingent,” or “unliquidated,” and
an amount of the Claim is specified in the Schedules, in which case the Claim will be deemed
allowed for the specified amount. In either case, when an objection to a Claim is filed, the creditor
holding the Claim cannot vote unless the Bankruptcy Court, after notice and hearing, either
overrules the objection, or allows the Claim for voting purposes.

        Debtor in all events reserve the right through the claim reconciliation process to object to
or seek to disallow any claim for distribution purposes under the Plan.

                                                  3
Case 20-71227-pmb         Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08              Desc Main
                                   Document      Page 4 of 28




       C.      Requirements of Confirmation

      The Bankruptcy Court can confirm the Plan only if all the requirements of § 1129 of the
Bankruptcy Code are met. Those requirements include the following:

            1. The Plan classifies Claims and Interests in a permissible manner;

            2. The contents of the Plan comply with the technical requirements of the Bankruptcy
               Code;

            3. The Plan has been proposed in good faith and not by any means forbidden by law;

            4. The disclosures concerning the Plan are adequate and include information
               concerning all payments made or promised in connection with the Plan, as well as
               the identity, affiliations, and compensation to be paid to all officers, directors, and
               other insiders; and

            5. The principal purpose of the Plan is not the avoidance of tax or the avoidance of
               the securities laws of the United States.

        In addition to the confirmation requirements described above, Debtor hopes that the Plan
will be approved by all Impaired Classes of Claims entitled to vote. If, however, the Plan has not
been approved by all Impaired Classes of Claims, the Court may nevertheless "cram down" the
Plan over the objections of a dissenting Class. The Plan may be "crammed down" so long as it
does not discriminate unfairly, is fair and equitable with respect to each dissenting Class of Claims,
and at least one Impaired Class has voted in favor of the Plan without regard to any votes of
insiders. If necessary, Debtor will seek to “cram down” the Plan.

       D.      Acceptance or Rejection of the Plan and Cram Down

        The Class containing your Claim will have accepted the Plan by the favorable vote of a
majority in number and two-thirds in amount of Allowed Claims actually voting. In the event that
any Impaired Class of Claims does not accept the Plan, the Bankruptcy Court may still confirm
the Plan if an Impaired Class accepts it and if, as to each Impaired Class that has not accepted the
Plan, the Plan "does not discriminate unfairly" and is "fair and equitable." If you hold an Allowed
Secured Claim, the Plan is fair and equitable if: (a) you retain your lien and receive deferred cash
payments totaling the allowed amount of your Allowed Secured Claim, (b) the collateral is sold
and your Lien attaches to the proceeds of the sale, or (c) you are otherwise provided with the
"indubitable equivalent" of your Allowed Secured Claim. If you hold a Claim that is not an
Allowed Secured Claim, and is not entitled to priority under § 507 of the Bankruptcy Code, the
Plan is fair and equitable if you receive property of a value equal to the allowed amount of your
Claim or if no junior Class receives or retains on account of such junior interest any property.




                                                  4
Case 20-71227-pmb         Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08               Desc Main
                                   Document      Page 5 of 28



       E.      Confirmation Hearing

       The Bankruptcy Court has scheduled a hearing on confirmation of the Plan ("Confirmation
Hearing") at the time indicated in the Order approving this Disclosure Statement and providing
Notice of Confirmation Hearing (the “Solicitation Order”). The Confirmation Hearing may be
adjourned from time to time without further notice except for announcement at the Confirmation
Hearing or notice to those parties present at the Confirmation Hearing.

       F.      Objections to Confirmation

       As will be set forth in the Solicitation Order, any objections to confirmation of the Plan
must be in writing, set forth the objector's standing to assert any such objection, and must be filed
with the Bankruptcy Court and served on counsel for Debtor. The Solicitation Order contains all
relevant procedures relating to the submission of objections to confirmation and should be
reviewed in its entirety by any party who has an objection to confirmation.

       G.      Whom to Contact for More Information

       If you have any questions about the procedure for voting on your Claim or the packet of
materials you received, please contact Cameron M. McCord at Jones & Walden, LLC at the
address indicated below or by telephone at (404) 564-9300.

        If you wish to obtain additional copies of the Plan, this Disclosure Statement, or the exhibits
to those documents, at your own expense, unless otherwise specifically required by Bankruptcy
Rule 3017(d), please contact Jones & Walden, LLC by one of the following methods:

 Via U.S. Mail:                    Via Facsimile:                    Via Email:
 Jones & Walden, LLC               (404) 564-9301                    lbrown@joneswalden.com
 699 Piedmont Avenue, NE           Attn: Lauren Brown
 Atlanta, GA 30308
 Attn: Lauren Brown

III.   Historical Background

       A.      Description of Debtor

        Debtor is a Georgia limited liability company which owns that certain real property located
at 3133 Continental Colony Pkwy SW, Atlanta, GA 30331 (the “Real Property”). Debtor’s
membership interests are 100% owned by Areu Studios, LLC (“Areu Studios”) and managed by
Ozzie Areu. Areu Studios operates as Areu Bros. Studio which is an approximately 29-acre studio
lot, which consists of five sound stages, an 11-home suburban backlot and four administration
buildings (the “Studio”). The property is located in a federal opportunity zone in Fulton County
(the “Studio”).

       Debtor was formed in 2018 for the purpose of acquiring the Real Property from Tyler Perry
Studios where Ozzie Areu was president for over twelve years. Debtor obtained funding to close

                                                  5
Case 20-71227-pmb        Doc 35     Filed 12/11/20 Entered 12/11/20 15:05:08             Desc Main
                                   Document      Page 6 of 28



on the purchase of the Real Property from LV Atlanta, LLC (“LV”) in December 2018. Debtor
was in the process of obtaining refinancing at the beginning of 2020. In early March 2020, the
Studio was forced to shut down due to Covid-19 and did not reopen until July 2020. The
uncertainty of the film industry amidst Covid-19 also caused the refinancing to fall through. During
this time, the Studio was unable to make rent payments to Debtor causing Debtor to default on its
payment to LV in September 2020. Debtor and LV entered into a forbearance agreement regarding
the default through November 1, 2020. Debtor filed the instant bankruptcy to reorganize its
financial affairs without the threat of collection or foreclosure.

       B.      Prepetition Assets and Liabilities

        Debtor’s had the following assets as of the Filing Date: (i) Bank of America Operating
Account $162.19; (ii) the Real Property with a going concern value of $25,700,000; and (iii)
furniture, fixtures and equipment with a liquidation value of $30,000.00.

       Debtor’s has liabilities consisting of secured claims totaling approximately
$14,500,000.00, priority claims of $417,928.00 and general unsecured claims totaling
approximately $300,000.00.

IV.         The Chapter 11 Case

       A.      Professionals

       Debtor filed an application (“Application”) requesting authorization to retain the law firm
of Jones & Walden, LLC (“J&W”) to serve as bankruptcy counsel in this Case. The application is
pending before the Court.

V.     Summary of the Plan

       The following summary of the Plan provides only a brief description of its provisions.
The summary is qualified in its entirety by the more detailed descriptions of the Plan in the
Disclosure Statement and by the terms of the Plan itself.

        The Plan provides for payments to creditors of Debtor. Debtor believes that any alternative
to confirmation of the Plan, such as liquidation, would result in significant delays, litigation, job
loss and/or impaired recoveries. For these reasons, Debtor urges you to return your Ballots
accepting Debtor’s Plan.

       The Plan contemplates the reorganization and ongoing business operations of Debtor and
the resolution of the outstanding Claims against and Interests in Debtor pursuant to sections
1129(b) and 1123 of the Bankruptcy Code. The Plan classifies all Claims against and Interests in
Debtor into separate Classes.




                                                 6
Case 20-71227-pmb        Doc 35     Filed 12/11/20 Entered 12/11/20 15:05:08             Desc Main
                                   Document      Page 7 of 28



VI.    Description of the Plan

       A.      Retention of Property by Debtor

         Upon confirmation, Debtor will retain all of the property of the estate free and clear of
liens, claims, and encumbrances not expressly retained by Creditors under the Plan. Debtor will
have the rights and powers to assert any and all Causes of Action (defined as all causes of action,
choses in action, claims, rights, suits, accounts or remedies belonging to or enforceable by Debtor,
including Avoidance Actions, whether or not matured or unmatured, liquidated or unliquidated,
contingent or noncontingent, known or unknown, or whether in law or in equity, and whether or
not specifically identified in Debtor’s schedules). The Disclosure Statement and Plan are filed with
a full reservation of rights.

       B.      Parties Responsible for Implementation of the Plan

         Upon confirmation, Debtor will be charged with administration of the Case. Debtor will
be authorized and empowered to take such actions as are required to effectuate the Plan. Debtor
will file all post-confirmation reports required by the United States Trustee’s office. Debtor will
also file the necessary final reports and will apply for a final decree as soon as practicable after
substantial consummation and the completion of the claims analysis and objection process. Debtor
shall be authorized to reopen this case after the entry of a Final Decree to enforce the terms of the
Plan including for the purpose of seeking to hold a party in contempt or to enforce the confirmation
or discharge injunction or otherwise afford relief to Debtor.

       C.      Liabilities of Debtor

        Debtor will not have any liabilities except those expressly assumed under the Plan. Debtor
will be responsible for all ongoing expenses and payments due and owing under the confirmed
Plan.

       D.      Funding of the Plan

       The source of funds for the payments pursuant to the Plan is the equity infusion in the
amount of $18,000,000.00 provided by Greenberg Film and TV Studio Holdings, LLC, through
the Areu Studios Chapter 11 Bankruptcy Plan filed contemporaneously herewith.

       E.      Provisions Regarding Executory Contracts

       As of the Effective Date of the Plan, Debtor will assume all executory contracts regarding
insurance on the Property.

        Any unexpired leases or executory contracts which are not assumed under the Plan or are
the subject of a pending motion to assume as of the Effective Date shall be deemed rejected
pursuant to Section 365 of the Bankruptcy Code on the Effective Date. Under the terms of the
Plan, a proof of claim for damages arising from such rejection must be filed in compliance with



                                                 7
Case 20-71227-pmb        Doc 35     Filed 12/11/20 Entered 12/11/20 15:05:08              Desc Main
                                   Document      Page 8 of 28



the Bankruptcy Rules on or before sixty (60) days after the Confirmation Date. Any claims which
are not timely filed will be disallowed and discharged.

       F.      Avoidance Actions and Retained Rights

         The Plan provides that Debtor shall retain all rights of action against others. The Plan also
provides that Debtor shall retain “Avoidance Actions” under Chapter 5 of the Bankruptcy Code.
Debtor may also have Claims against others which are retained. Notwithstanding the foregoing,
Debtor is not aware of any preference claims or fraudulent conveyance claims, including any listed
in its schedules that in the exercise of its reasonable business judgment are worth pursuing.

       G.      Treatment of Claims and Interests

        A brief summary of the Classes, the treatment of each Class, and the voting rights of each
Class is set forth below. A complete description of the treatment of each Class is set forth in
Article 4 of the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims.

        Debtor reserves the right to pay any claim in full at any time in accordance with the terms
of the Plan (i.e. at the percentage distribution designated in the Plan and including any accrued and
unpaid interest, if any) without prepayment penalty.

       6.1     Class 1: Secured or Priority Claim of the Internal Revenue Service

         Debtor is not aware of any claim held by the Internal Revenue Service (“IRS”). However,
in the event the Court determines the IRS holds an Allowed Class 1 IRS Tax Claim for secured or
priority taxes, Debtor shall pay such Allowed Class 1 IRS Tax Claim in full in equal monthly
payments commencing on the Effective Date and continuing by the 28 th day of each subsequent
month (or the next Business Day if the 28th day is not a Business Day) with interest accruing at the
annual rate of 4% unless the IRS agrees to a lower interest rate or longer payment term. Any third-
party payments or payments in excess of the scheduled distribution pursuant to Class 1 received
by IRS after the Filing Date shall be applied to the principal tax obligation owed by Debtor
pursuant to Class 1. Notwithstanding anything to the contrary herein, Debtor shall pay the full
amount of the Allowed Class 1 IRS Tax Claim by the earlier of (i) the Class 5 and 6 Maturity Date
or (iii) within 60 months of the Filing Date

        A failure by the Debtor to make a payment under Class 1 to the IRS pursuant to the terms
of the Plan shall be an event of default as to the IRS. In the event of a default under Class 1, the
IRS must send a Default Notice to Debtor in accordance with Article 2.3 of the Plan. Such Default
Notice must contain the reason for the default and if such default is monetary, the amount of the
default and amount necessary to cure the default and the address for payment, which will accept
overnight deliveries. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor of the
required Default Notice. In the event of an uncured default in payments under Class 1 to the IRS
and following proper Default Notice procedures and opportunity to cure pursuant to Article 2.3 of

                                                  8
Case 20-71227-pmb        Doc 35     Filed 12/11/20 Entered 12/11/20 15:05:08              Desc Main
                                   Document      Page 9 of 28



the Plan, the IRS may (a) enforce the entire amount of its then outstanding Allowed Class 1 IRS
Priority Tax Claim; (b) exercise any and all rights and remedies it may have under applicable non-
bankruptcy law regarding the Allowed Class 1 IRS Priority Tax Claim; and (c) seek such relief as
may be appropriate in the Bankruptcy Court.

         The amount of any claim of the IRS that is not assessable prior to the Filing Date or treated
as arising before the Filing Date pursuant to 11 U.SC. §502(i), and the right of the IRS, if any, to
payment in respect thereto shall (i) be determined in the manner in which the amount of such Claim
and the rights of the IRS would have been resolved or adjudicated if the Bankruptcy Case had not
been commenced, (ii) survive after the Effective Date as if the Bankruptcy Case had not been
commenced, and (iii) not be discharged pursuant to section 1141 of the Bankruptcy Code.
However, the rights and treatment of the IRS and obligations and liability of Debtor or its property
regarding any claim of the IRS against Debtor which was assessable prior to the Filing Date shall
be treated and fixed in accordance with the Plan, and any additional or other claims assessable on
or prior to the Filing Date or treated as arising before the Filing Date pursuant to 11 U.SC. §502(i),
and not timely asserted by the IRS in accordance with the Bankruptcy Code and the Plan and in
all instances prior to entry of the Confirmation Order, shall be forever barred. Debtor reserves the
right to pay any tax claim in full at any time.

       The Claim of the Class 1 Creditor is Impaired by the Plan and the holder of the Class 1
Claim is entitled to vote to accept or reject the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.

       6.2     Class 2: Secured or Priority Tax Claim of Georgia Department of Revenue

        Debtor is not aware of any claim held by the Georgia Department of Revenue (“GDR”).
However, in the event the Court determines the GDR holds an Allowed Class 2 GDR Tax Claim
for secured or priority taxes, Debtor shall pay such Allowed Class 2 GDR Tax Claim in full within
60 months of the Filing Date in equal monthly payments commencing on the Effective Date and
continuing by the 28th day of each subsequent month (or the next Business Day if the 28 th day is
not a Business Day) with interest accruing at the annual rate of 6.5% unless the GDR agrees to a
lower interest rate or longer payment term. Any third-party payments or payments in excess of
the scheduled distribution pursuant to Class 2 received by GDR after the Filing Date shall be
applied to the principal tax obligation owed by Debtor pursuant to Class 2. Notwithstanding
anything to the contrary herein, Debtor shall pay the full amount of the Allowed Class 2 GDR Tax
Claim by the earlier of (i) the Class 5 and 6 Maturity Date or (iii) within 60 months of the Filing
Date.

        A failure by the Debtor to make a payment under Class 2 to the GDR pursuant to the terms
of the Plan shall be an event of default as to the GDR. In the event of a default under Class 2, the
GDR must send a Default Notice to Debtor in accordance with Article 2.3 of the Plan. Such Default
Notice must contain the reason for the default and if such default is monetary, the amount of the
default and amount necessary to cure the default and the address for payment, which will accept
overnight deliveries. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor of the

                                                  9
Case 20-71227-pmb         Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08           Desc Main
                                   Document     Page 10 of 28



required Default Notice. In the event of an uncured default following proper Default Notice
procedures and opportunity to cure pursuant to Article 2.3 of the Plan, the GDR may (a) enforce
the entire amount of its then outstanding Allowed Class 2 GDR Priority Tax Claim; (b) exercise
any and all rights and remedies it may have under applicable non-bankruptcy law regarding the
Allowed Class 2 GDR Priority Tax Claim; and (c) seek such relief as may be appropriate in the
Bankruptcy Court.

        The amount of any claim of GDR that is not assessable prior to the Filing Date or treated
as arising before the Filing Date pursuant to 11 U.SC. §502(i), and the right of GDR, if any, to
payment in respect thereto shall (i) be determined in the manner in which the amount of such Claim
and the rights of GDR would have been resolved or adjudicated if the Bankruptcy Case had not
been commenced, (ii) survive after the Effective Date as if the Bankruptcy Case had not been
commenced, and (iii) not be discharged pursuant to section 1141 of the Bankruptcy Code.
However, the rights and treatment of GDR and obligations and liability of Debtor or its property
regarding any claim of GDR against Debtor which was assessable prior to the Filing Date shall be
treated and fixed in accordance with the Plan, and any additional or other claims assessable on or
prior to the Filing Date or treated as arising before the Filing Date pursuant to 11 U.SC. §502(i),
and not timely asserted by GDR in accordance with the Bankruptcy Code and the Plan and in all
instances prior to entry of the Confirmation Order, shall be forever barred. Debtor reserves the
right to pay any tax claim in full at any time.

       The Claim of the Class 2 Creditor is Impaired by the Plan and the holder of the Class 2
Claim is entitled to vote to accept or reject the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.

       4.3      Class 3: Priority Tax Claims of Fulton County, Georgia

        Debtor scheduled the Fulton County Tax Commissioner (“Fulton County”) as holding a
priority tax claim in the total amount of $421,424.70 consisting of 2020 ad valorem taxes and
charges for Debtor’s real property as well as outstanding solid waste bills. As of the date hereof,
Fulton County has not filed a proof of claim. Debtor shows that Fulton County’s Class 3 Tax
Claim consists of the following:

             (i)   $87,756.49 for 2020 ad valorem property taxes for Fulton County on Parcel
       ID NO 14-0228-LL-051-1;

               (ii)  $274,605.94 for 2020 ad valorem property taxes for the City of Atlanta on
       Parcel ID NO 14-0228-LL-051-1;


                (iii)   $7,608.28 for the 2020 Solid Waste Bill for Parcel ID NO 14-0228-LL-051-
       1; and




                                                10
Case 20-71227-pmb        Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08              Desc Main
                                  Document     Page 11 of 28



             (iv)   $10,245.10 for 2020 ad valorem property taxes for Fulton County on Parcel
       ID No 14-0228-LL-049-5;


             (v)    $32,055.63 for 2020 ad valorem property taxes for City of Atlanta on Parcel
       ID No 14-0228-LL-049-5; and


               (vi)    $9,153.28 for the 2020 Solid Waste Bill for Parcel ID No 14-0228-LL-049-
       5;

(Collectively, such amount shall be referred to herein as the “Class 3 Fulton County Tax Claim”).

         Debtor shall pay the Allowed Class 3 Fulton County Tax Claim in full on the Effective
Date. Upon receipt of payment of the Class 3 Fulton County Tax Claim, Fulton County shall
release the lien on the real property located at (i) Parcel Identification Number 14-0228-LL-051-
1, (ii) Parcel Identification Number 14-0228-LL-049.5, and (iii) any other encumbered property
of Debtor upon receipt by Fulton County of the amount due on the applicable Class 3 Fulton
County Tax Claim on the terms herein.

        A failure by the Debtor to make a payment under Class 3 to Fulton County pursuant to the
terms of the Plan shall be an event of default under Class 3 as to applicable Class 3 Fulton County
Tax Claim. In the event of a default under Class 3, Fulton County must send a Default Notice to
Debtor in accordance with Article 2.3 of the Plan. Such Default Notice must contain the reason for
the default and if such default is monetary, the amount of the default and amount necessary to cure
the default and the address for payment, which will accept overnight deliveries. Receipt by
Debtor’s Attorney shall not be deemed receipt by Debtor of the required Default Notice. In the
event of an uncured default following proper Default Notice procedures and opportunity to cure
pursuant to Article 2.3 of the Plan, Fulton County may (a) enforce the entire amount of its then
outstanding applicable Allowed Class 3 Fulton County Tax Claim; (b) exercise any and all rights
and remedies it may have under applicable non-bankruptcy law regarding the applicable Allowed
Class 3 Fulton County Tax Claim; and (c) seek such relief as may be appropriate in the Bankruptcy
Court.

         The amount of any claim of Fulton County that is not assessable prior to the Filing Date or
treated as arising before the Filing Date pursuant to 11 U.SC. §502(i), and the right of Fulton
County, if any, to payment in respect thereto shall (i) be determined in the manner in which the
amount of such Claim and the rights of Fulton County would have been resolved or adjudicated if
the Bankruptcy Case had not been commenced, (ii) survive after the Effective Date as if the
Bankruptcy Case had not been commenced, and (iii) not be discharged pursuant to section 1141
of the Bankruptcy Code. However, the rights and treatment of Fulton County and obligations and
liability of Debtor or its property regarding any claim of Fulton County against Debtor which was
assessable prior to the Filing Date shall be treated and fixed in accordance with the Plan, and any
additional or other claims assessable on or prior to the Filing Date or treated as arising before the
Filing Date pursuant to 11 U.SC. §502(i), and not timely asserted by Fulton County in accordance
with the Bankruptcy Code and the Plan and in all instances prior to entry of the Confirmation
Order, shall be forever barred. Debtor reserves the right to pay any tax claim in full at any time.

                                                 11
Case 20-71227-pmb         Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08                Desc Main
                                   Document     Page 12 of 28




       The Claim of the Class 3 Creditor is not Impaired by the Plan and the holder of the Class
3 Claim is entitled to vote to accept or reject the Plan.

       Nothing herein shall constitute an admission as to the nature, validity, or amount of such
claim. Debtor reserves the right to object to any and all claims.

       4.5     Class 4: Priority and Secured Tax Claims of Governmental Units Not
               Otherwise Classified in the Plan

         Class 4 shall consist of any Priority or Secured Claim of a governmental unit entitled to
priority under 11 U.S.C. §507(a)(8) or §502(i), which are not otherwise specifically classified in
the Plan (“Class 4 Governmental Unit Tax Claim”). Debtor is not aware of any Holders of Class
4 Governmental Unit Tax Claim not otherwise classified in the Plan. In the event there are
Allowed Holders of Class 4 Governmental Unit Tax Claims, Debtor shall pay such Allowed Class
4 Government Unit Tax Claims at the rate of $100 per month commencing on the 28 th day of the
first full month following the Effective Date and continuing by the 28 th day of each subsequent
month (or the next Business Day if the 28th day is not a Business Day), with interest accruing at
the annual rate of 4% (or at the rate otherwise as required by the Bankruptcy Code), with a final
balloon payment on the 5th anniversary of the Filing Date (i.e. October 29, 2025) unless such holder
agrees to a longer payment term, which such agreement may be communicated by continued
acceptance of monthly payments after October 29, 2025. Any third-party payments or payments
in excess of the scheduled distribution pursuant to Class 4 received by a holder shall be applied to
the principal tax obligation owed by Debtor pursuant to Class 4. Debtor’s Class 4 payments shall
be applied (i) first to interest accruing under the Plan, (ii) second to the principal balance and (iii)
then to interest which accrued prior to the Effective Date, if any. Debtor reserves the right to pay
any Class 4 Governmental Unit Tax Claim in full at any time.

       Debtor shall pay any claim of a Class 4 Claim Holder assessable, arising prior to the Fling
Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) on the terms herein,
and holders of Class 4 Claims shall be permanently enjoined from seeking payment in excess of
the amounts provided for in the Plan for such claims.

        A failure by the Debtor to make a payment under Class 4 to a holder of a Class 4
Governmental Unit Tax Claim pursuant to the terms of the Plan shall be an event of default under
Class 4 as to such holder. In the event of a default under Class 4, the applicable holder must send
a Default Notice to Debtor in accordance with Article 2.3 of the Plan. Such Default Notice must
contain the reason for the default and if such default is monetary, the amount of the default and
amount necessary to cure the default and the address for payment, which will accept overnight
deliveries. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor of the required
Default Notice. In the event of an uncured default following proper Default Notice procedures
and opportunity to cure pursuant to Article 2.3 of the Plan, the Governmental Unit may (a) enforce
the entire amount of its then outstanding Allowed Class 4 Governmental Unit Tax Claim; (b)
exercise any and all rights and remedies it may have under applicable non-bankruptcy law
regarding the Allowed Class 4 Governmental Unit Tax Claim; and (c) seek such relief as may be
appropriate in the Bankruptcy Court.

                                                  12
Case 20-71227-pmb        Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08              Desc Main
                                  Document     Page 13 of 28




        The amount of any claim of a holder of Class 4 Governmental Unit Tax Claim that is not
assessable prior to the Filing Date or treated as arising before the Filing Date pursuant to 11 U.SC.
§502(i), and the right of Governmental Unit, if any, to payment in respect thereto shall (i) be
determined in the manner in which the amount of such Claim and the rights of Governmental Unit
would have been resolved or adjudicated if the Bankruptcy Case had not been commenced, (ii)
survive after the Effective Date as if the Bankruptcy Case had not been commenced, and (iii) not
be discharged pursuant to section 1141 of the Bankruptcy Code. However, the rights and treatment
of a Governmental Unit and obligations and liability of Debtor or its property regarding any claim
of a Governmental Unit against Debtor which was assessable prior to the Filing Date shall be
treated and fixed in accordance with the Plan, and any additional or other claims assessable on or
prior to the Filing Date or treated as arising before the Filing Date pursuant to 11 U.SC. §502(i),
and not timely asserted by a Governmental Unit in accordance with the Bankruptcy Code and the
Plan and in all instances prior to entry of the Confirmation Order, shall be forever barred. Debtor
reserves the right to pay any tax claim in full at any time.

        The Holder of an Allowed Class 4 Governmental Unit Priority Tax Claim is impaired and
entitled to vote to accept or reject the Plan. Nothing contained herein shall prohibit Debtor from
objecting to the Class 4 Claims for any reason.

       4.5     Class 5: Secured Claim of LV Atlanta, LLC

        Class 5 consists of the first priority secured claim of LV Atlanta, LLC (“LV”) (such amount
owed to LV and as allowed by the Court plus interest accruing pursuant to this Class 5 shall be
referred to herein as the “Class 5 Secured Claim”). Debtor scheduled LV as holding a claim in the
amount of $11,500,000.00 pursuant to that certain Promissory Note and Loan Agreement dated
December 13, 2018. The Class 5 Secured Claim is secured by a first priority lien on the Real
Property (i.e. that certain real property located at 3133 Continental Colony Parkway, Atlanta,
Georgia) pursuant to a Deed to Secure Debt dated December 13, 2018 and recorded in the Fulton
County, Georgia land records on December 14, 2108 in Deed Book 59525, Page 61 et. seq.
(“Security Deed”). Debtor’s Real Property in which LV holds a security interest as described in
Security Deed also may be referred to herein as the “Class 5 Collateral.” The Promissory Note,
Loan Agreement and Security Deed are referred to herein as the “Class 5 Loan Documents”).

       Debtor shall pay the Class 5 Secured Claim on the Effective Date. LV shall release its lien
on and security interest in the Class 5 Collateral for a payment of the then outstanding allowed
Class 5 Secured Claim less any payment previously received and applied pursuant to this Plan.
Upon request by Debtor, LV shall promptly provide a payoff letter including the then outstanding
balance of the Class 5 Secured Claim and an accounting including all credits and debits, including
all payments received and their application.

        In the event Debtor defaults on payments pursuant to Class 5 of the Plan or otherwise
defaults under Class 5 of the Plan, LV shall send a Default Notice to Debtor in accordance with
Article 2.3 of the Plan, which must contain the basis for declaring a default, and, in the event of a
monetary default, the notice must state the amount necessary to cure the default and an address
that will accept overnight deliveries. If Debtor does not cure the default in the period provided in

                                                 13
Case 20-71227-pmb        Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08               Desc Main
                                  Document     Page 14 of 28



Article 2.3 of the Plan, LV shall be authorized to accelerate the Class 5 Secured Claim and exercise
its state law rights and remedies against the Class 5 Collateral. Except as otherwise provided for
in this Plan or otherwise inconsistent with this Plan, all non-monetary provisions of the Pre-Petition
Loan Documents and all remedies available to LV under such loan documents shall remain in full
force and effect; provided that, unless and until there is an uncured event of default under Class 5
of the Plan, LV shall forbear and be enjoined from the exercise of any rights or remedies under the
loan documents and any provision within the discretion of LV shall be subject to a reasonableness
standard.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

         The holder of the Class 5 Secured Claim is not impaired and entitled to vote to accept or
reject the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 5 Claim
for any reason.

       4.6     Class 6: Secured Claim of TP Krog, LLC

         Class 6 consists of the second priority secured claim of TP Krog, LLC (“TP”) (such amount
owed to TP and as allowed by the Court plus interest accruing pursuant to this Class 6 shall be
referred to herein as the “Class 6 Secured Claim”). TP holds a secured claim in the amount of
$3,300,000.00 pursuant to (i) that certain Promissory Note in the amount of $3,000,000.00 dated
December 13, 2018 and (ii) that certain Promissory Note dated October 1, 2020 in the amount of
$300,000.00. The Class 6 Secured Claim is secured by a second and third priority lien on the Real
Property (i.e. that certain real property located at 3133 Continental Colony Parkway, Atlanta,
Georgia) pursuant to (i) that certain Deed to Secure Debt dated December 13, 2018 and recorded
in the Fulton County, Georgia land records on December 14, 2108 in Deed Book 59525, Page 113
et. seq. (“First Security Deed”) and (ii) that certain Deed to Secure Debt and Security Agreement
dated October 1, 2020 and recorded in the Fulton County, Georgia land records on October 20,
2020 in Deed Book 62468, Page 580, et. seq. (“Second Security Deed”). Debtor’s Real Property
in which TP holds a security interest as described in Security Deed may also be referred to herein
as the “Class 6 Collateral.” The Promissory Notes and Security Deeds are referred to herein as the
“Class 6 Loan Documents”).

         Debtor shall pay the Class 6 Secured Claim in full on the Effective Date. TP shall release
its lien on and security interest in the Class 6 Collateral for a payment of the then outstanding
allowed Class 6 Secured Claim less any payment previously received and applied pursuant to this
Plan. Upon request by Debtor, TP shall promptly provide a payoff letter including the then
outstanding balance of the Class 6 Secured Claim and an accounting including all credits and
debits, including all payments received and their application.

        In the event Debtor defaults on payments pursuant to Class 6 of the Plan or otherwise
defaults under Class 6 of the Plan, TP shall send a Default Notice to Debtor in accordance with
Article 2.3 of the Plan, which must contain the basis for declaring a default, and, in the event of a
monetary default, the notice must state the amount necessary to cure the default and an address
that will accept overnight deliveries. If Debtor does not cure the default in the period provided in

                                                 14
Case 20-71227-pmb         Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08                 Desc Main
                                   Document     Page 15 of 28



Article 2.3 of the Plan, TP shall be authorized to accelerate the Class 6 Secured Claim and exercise
its state law rights and remedies against the Class 6 Collateral. Except as otherwise provided for
in this Plan or otherwise inconsistent with this Plan, all non-monetary provisions of the Pre-Petition
Loan Documents and all remedies available to TP under such loan documents shall remain in full
force and effect; provided that, unless and until there is an uncured event of default under Class 6
of the Plan, TP shall forbear and be enjoined from the exercise of any rights or remedies under the
loan documents and any provision within the discretion of TP shall be subject to a reasonableness
standard.

       Nothing herein shall constitute an admission as the nature, validity, or amount of claim.
Debtor reserves the right to object to any and all claims for any reason.

         The holder of the Class 6 Secured Claim is not impaired and entitled to vote to accept or
reject the Plan. Nothing contained herein shall prohibit Debtor from objecting to the Class 6 Claim
for any reason.

        6.7     Class 7: Interest Claims

     Class 7 consists of Interest Claims. Areu Studios, LLC shall retain 100% of the
membership interest in the Debtor.

        The holders of Class 7 Claims are unimpaired.

        6.9      Sale Procedures

        After the Confirmation Date, Debtor is authorized to sell or refinance its assets free and
clear of liens, claims and encumbrances as set forth herein (the “Sale Procedures”). In the event
the applicable assets are subject to secured claims, Debtor is authorized to sell or refinance such
property for any amount (a release amount) that is at least equal to the outstanding amount of
Allowed Secured Claims securing such property “Release Amount.” The Release Amount, after
payment of customary closing costs including broker fees and other items customarily attributed
to the seller (in a sale) and borrower (in a refinancing), shall be paid at closing as follows: (i) first
to cover any ad valorem property taxes associated with the Real Property and (ii) then secured
claims in order of priority, to the extent of available proceeds. Any net proceeds from any such
sale available after closing shall be paid to fund Debtor’s other obligations as set forth in the Plan.

       The Bankruptcy Court shall retain jurisdiction to reopen the Bankruptcy Case, if
applicable, and resolve any disputes regarding the Sale Procedures herein.

    6. Administrative Expenses

     Treatment of administrative expense claims is set forth in Article 5 of the Plan and
summarized below.

      7.1.   Summary. Pursuant to section 1123(a)(1) of the Bankruptcy Code, Administrative
Expense Claims against Debtor are not classified for purposes of voting on, or receiving

                                                   15
Case 20-71227-pmb         Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08                Desc Main
                                   Document     Page 16 of 28



Distributions under this Plan. Holders of such Claims are not entitled to vote on this Plan. All
such Claims are instead treated separately in accordance with this Article V and in accordance
with the requirements set forth in section 1129(a)(9)(A) of the Bankruptcy Code.

        With respect to potential Administrative Expense Claims, Debtor, pursuant to Court order,
retained the law firm of Jones & Walden, LLC (“Firm”) to serve as bankruptcy counsel. As set
forth in the employment application and supporting documents, the Firm received a prepetition
retainer in the amount of $43,745.50. As of the date hereof, the fees and expenses incurred by the
Firm have not exceeded the retainer. Debtor shall pay any unpaid allowed Administrative Expense
Claim held by the Firm on the Effective Date unless otherwise agreed to by the Firm. The Firm
shall retain its security interest in the pre-petition retainer. The Firm retains its right to assert an
attorney lien on any property administered under the Plan or otherwise recovered in this case.
Debtor is paying post-petition bills and does not expect any claims for unpaid post-petition goods
and services other than possible professional fees. Debtor will incur quarterly trustee fees which
Debtor intends to pay when due.

        7.2.    Administrative Expense Claims.

        7.2.1. Subject to the provisions of sections 328, 330(a) and 331 of the Bankruptcy Code,
each holder of an Allowed Administrative Expense Claim will be paid the full unpaid amount of
such Allowed Administrative Expense Claim in Cash on the latest of (1) the Effective Date, (ii) as
soon as practicable after the date on which such Claim becomes an Allowed Administrative
Expense Claim, (iii) upon such other terms as may be agreed upon by such holder and Debtor, or
(iv) as otherwise ordered by the Bankruptcy Court; provided, however, that Allowed
Administrative Expense Claims representing obligations incurred by Debtor in the ordinary course
of business after the Filing Date, or otherwise assumed by Debtor on the Effective Date pursuant
to this Plan, including any tax obligations arising after the Filing Date, will be paid or performed
by Debtor when due in accordance with the terms and conditions of the particular agreements or
non-bankruptcy law governing such obligations.

       7.2.2. Except as otherwise provided in this Plan, any Person holding an Administrative
Expense Claim, shall file a proof of such Administrative Expense Claim with the Bankruptcy Court
within thirty (30) days after the Confirmation Date. At the same time any Person files an
Administrative Expense Claim, such Person shall also serve a copy of the Administrative Expense
Claim upon counsel for Debtor. Any Person who fails to timely file and serve a proof of such
Administrative Expense Claim shall be forever barred from seeking payment of such
Administrative Expense Claims by Debtor or the Estate.

        7.2.3. Any Person seeking an award by the Bankruptcy Court of Professional
Compensation shall file a final application with the Bankruptcy Court for allowance of
Professional Compensation for services rendered and reimbursement of expenses incurred through
the Effective Date within thirty (30) days after the Confirmation Date or by such other deadline as
may be fixed by the Bankruptcy Court.




                                                  16
Case 20-71227-pmb           Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08                    Desc Main
                                     Document     Page 17 of 28



       The Plan provides that Debtor may pay professional fees incurred after Confirmation of
the Plan without Court approval. Debtor shall pay all pre-confirmation fees of professionals as
payment of same is approved by the Court.

     7. Tax Consequences

        Tax consequences resulting from confirmation of the Plan can vary greatly among the
various Classes of Creditors and holders of Interests, or within each Class. Significant tax
consequences may occur as a result of confirmation of the Plan under the Internal Revenue Code
and pursuant to state, local, and foreign tax statutes. Because of the various tax issues involved,
the differences in the nature of the Claims of various Creditors, the taxpayer status and methods
of accounting and prior actions taken by Creditors with respect to their Claims, as well as the
possibility that events subsequent to the date hereof could change the tax consequences, this
discussion is intended to be general in nature only. No specific tax consequences to any Creditor
or holder of an Interest are represented, implied, or warranted. Each holder of a Claim or Interest
should seek professional tax advice.

       The Debtor’s taxable income and losses are included in the members of the Debtor’s
individual taxable income. Accordingly, Debtor does not project income tax expenses.

       The proponent assumes no responsibility for the tax effect that consummation of the
Plan will have on any given Holder of a Claim or Interest. Holders of Claims or Interest are
strongly urged to consult their own tax advisors covering the federal, state, local and foreign
tax consequences of the Plan to their individual situation.

8.      Liquidation Analysis

        Holders of claims would not receive any greater return in a liquidation of Debtor’s assets.
Moreover, in liquidation, the Chapter 7 trustee would incur costs associated with liquidation, such
as broker fees and professionals. The details of a hypothetical liquidation are as follows: The Real
Property would be marketed and sold by a bankruptcy trustee. It is likely that a sale of the Real
Property in bankruptcy would realize less than the fair market value of the Real Property.
Conversion and liquidation under Chapter 7 of the Bankruptcy Code would result in the
appointment of a Chapter 7 trustee and the liquidation of assets. As stated above, assets disposed
of by “liquidation” or “fire” sale generally generate significantly less proceeds than assets that are
marketed and sold as a going concern. Additionally, a Chapter 7 trustee would incur trustee’s fees
pursuant to § 326(a) or § 330 of the Bankruptcy Code.1



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  11 USC § 326(a) states that a Chapter 7 trustee would incur trustee’s fees equal to 25% of the first $5,000
of Liquidation Value of Assets; 10% of amount in excess of $5,000 but not in excess of $50,000 of
Liquidation Value of Assets; 5% of any amount in excess of $50,000 but not in excess of $1,000,000; 3%
of any amount in excess of $1,000,000 of the Liquidation Value of Asset, and commissions for auctioneers
for personal property generally is equivalent to ten (10%) percent of the gross sales price and commissions
for real property brokers is generally six percent (6%) of the gross sales price. In addition, the attorney for
the Chapter 7 trustee would incur attorney’s fees as would the current Chapter 11 attorneys.
                                                      17
Case 20-71227-pmb        Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08            Desc Main
                                  Document     Page 18 of 28



        The proposed Plan contemplates payment on better terms than any recovery under
liquidation.

9.      Procedures for Treating and Resolving Disputed Claims

            a. Objection To Claims

       The Plan provides that Debtor shall be entitled to object to Claims, provided, however, that
Debtor shall not be entitled to object to Claims that have been Allowed by a Final Order entered
by the Bankruptcy Court prior to the Effective Date.

            b. No Distributions Pending Allowance

       Except as otherwise provided in the Plan, no Distributions will be made with respect to any
portion of a Claim where an objection to such Claim has been filed until any such objection to
such Claim has been settled, withdrawn or overruled pursuant to a Final Order of the Bankruptcy
Court.

            c. Estimation of Claims

       Debtor may, at any time, request that the Bankruptcy Court estimate any contingent or
unliquidated Claim pursuant to the Bankruptcy Code regardless of whether Debtor has previously
objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court will retain jurisdiction to estimate any Claim at any time during litigation
concerning any objection to any Claim, including during the pendency of any appeal relating to
any such objection. In the event that the Bankruptcy Court estimates any contingent or
unliquidated Claim, that estimated amount will constitute either the Allowed amount of such Claim
or a maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
amount constitutes a maximum limitation on such Claim, Debtor may elect to pursue any
supplemental proceedings to object to any ultimate payment on such Claim. All of the
aforementioned Claims objection, estimation and resolution procedures are cumulative and are not
necessarily exclusive of one another.

            d. Resolution of Claims Objections

       On and after the Effective Date, Debtor shall have the authority to compromise, settle,
otherwise resolve, or withdraw any objections to Claims without approval of the Bankruptcy
Court.

     10. Conditions Precedent to the Effective Date

      The following are conditions precedent to the occurrence of the Effective Date, each of
which may be satisfied or waived in accordance with Article 11.2 of the Plan.

               (a)    The Confirmation Order shall not have been vacated, reversed or modified
                      and, as of the Effective Date, shall not be stayed.

                                                18
Case 20-71227-pmb         Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08             Desc Main
                                   Document     Page 19 of 28




               (b)      All documents and agreements to be executed on the Effective Date or
                        otherwise necessary to implement the Plan shall be in form and substance
                        that is acceptable to Debtor, in its reasonable discretion.

               (c)      Debtor shall have received any authorization, consent, regulatory approval,
                        ruling, letter, opinion, or document that may be necessary to implement this
                        Plan and that is required by law, regulation, or order.

        Under the Plan, each of the conditions set forth above may be waived, in whole or in part,
by Debtor without any notice to any other parties in interest or the Bankruptcy Court and without
a hearing. The failure to satisfy or waive any condition to the Confirmation Date or the Effective
Date may be asserted by Debtor in its sole discretion regardless of the circumstances giving rise
to the failure of such condition to be satisfied (including any action or inaction by Debtor in its
sole discretion). The failure of Debtor to exercise any of the foregoing rights shall not be deemed
a waiver of any other rights, and each such right shall be deemed an ongoing right, which may be
asserted at any time.

11.    Certain Effects of Confirmation

           a. Vesting of Debtor’s Assets

         Except as otherwise explicitly provided in the Plan, upon the Court’s entry of the
Confirmation Order, all property comprising the Estate (including Retained Actions, but excluding
property that has been abandoned pursuant to an order of the Bankruptcy Court) shall revest in
Debtor free and clear of all Claims, Liens, charges, encumbrances, rights and Interests of creditors
and equity security holders, except as specifically provided in the Plan. As of the Confirmation
Date, Debtor may operate its business and use, acquire, and dispose of property and settle and
compromise Claims or Interests without supervision of the Bankruptcy Court, free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly
imposed by the Plan and Confirmation Order.

           b. Discharge of Debtor

        Pursuant to section 1141(d) of the Bankruptcy Code, except as otherwise specifically
provided in the Plan or in the Confirmation Order, the Distributions and rights that are provided in
the Plan shall be in complete satisfaction, discharge, and release of all Claims and Causes of Action
against Debtor, whether known or unknown, including any and all liabilities of Debtor, Liens on
Debtor’s assets, obligations of Debtor, rights against Debtor, and Interests in Debtor or its Estate
that arose prior to the Effective Date regardless of whether a claimant accepted or rejected the
Plan.

           c. Setoffs

       Debtor may, but shall not be required to, set off against any Claim, and the payments or
other Distributions to be made pursuant to this Plan in respect of such Claim, claims of any nature
whatsoever that Debtor may have against such Holder; but neither the failure to do so nor the
                                                 19
Case 20-71227-pmb        Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08               Desc Main
                                  Document     Page 20 of 28



allowance of any Claim hereunder shall constitute a waiver or release by Debtor of any such claim
that Debtor may have against such Holder.

            d. Exculpation and Limitation of Liability

        Under the Plan, Debtor’s current and/or post-Filing Date and pre-Effective Date members,
officers, directors, employees, advisors, attorneys, representatives, financial advisors, investment
bankers, or agents and any of such parties’ successors and assigns, shall not have or incur, and
shall be released from, any claim, obligation, cause of action, or liability to one another or to any
Holder of any Claim or Interest, or any other party-in-interest, or any of their respective agents,
employees, representatives, financial advisors, attorneys, or Affiliates, or any of their successors
or assigns, for any act or omission in connection with, relating to, or arising out of the Bankruptcy
Case, the negotiation and filing of the Plan, the filing of the Bankruptcy Case, the pursuit of
confirmation of the Plan, the consummation of the Plan, or the administration of the Plan, except
for their willful misconduct, and in all respects shall be entitled to reasonably rely upon the advice
of counsel with respect to their duties and responsibilities under the Plan. No Holder of any Claim
or Interest, or other party in interest, none of their respective agents, employees, representatives,
financial advisors, or Affiliates, and no successors or assigns of the foregoing, shall have any right
of action against the parties listed in this provision for any act or omission in connection with,
relating to, or arising out of the Bankruptcy Case, the pursuit of confirmation of the Plan, the
consummation of the Plan, or the administration of the Plan. Fees and expenses which Debtor
owes to its Professionals are excluded from this Exculpation.

       E.      Injunction.

        Upon entry of a Confirmation Order in this case, except as provided for in this Plan,
the Confirmation Order shall act as a permanent injunction against any Person: (a)
commencing or continuing any action, (b) employing any process, or (c) acting to collect,
offset, or recover any Claim or Cause of Action against: (1) Debtor, or (2) against any
property of Debtor. Such injunction shall survive the closure of the Bankruptcy Case and
this Court shall retain jurisdiction to enforce such injunction.

       F.      Miscellaneous Plan Provisions

            i. Modification of Plan

        Debtor shall be allowed to modify the Plan pursuant to section 1127 of the Bankruptcy
Code to the extent applicable law permits. Subject to the limitations contained in the Plan, pursuant
to Article 13.1 of the Plan, Debtor may modify the Plan, before or after confirmation, without
notice or hearing, or after such notice and hearing as the Bankruptcy Court deems appropriate, if
the Bankruptcy Court finds that the Modification does not materially and adversely affect the rights
of any parties in interest which have not had notice and an opportunity to be heard with regard
thereto. In the event of any modification on or before confirmation, any votes to accept or reject
the Plan shall be deemed to be votes to accept or reject the Plan as modified, unless the Bankruptcy
Court finds that the modification materially and adversely affects the rights of parties in interest



                                                 20
Case 20-71227-pmb        Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08              Desc Main
                                  Document     Page 21 of 28



which have cast said votes. Debtor reserves the right in accordance with section 1127 of the
Bankruptcy Code to modify the Plan at any time before the Confirmation Date.

           ii. Retention of Jurisdiction

                The Plan provides that subsequent to the Effective Date, the Bankruptcy Court shall
have or retain jurisdiction for the following purposes:

               (a)    To adjudicate objections concerning the allowance, priority or classification
                      of Claims and any subordination thereof, and to establish a date or dates by
                      which objections to Claims must be filed to the extent not established in the
                      Plan;
               (b)    To liquidate the amount of any disputed, contingent or unliquidated Claim,
                      to estimate the amount of any disputed, contingent or unliquidated claim, to
                      establish the amount of any reserve required to be withheld from any
                      distribution under the Plan on account of any disputed, contingent or
                      unliquidated claim;

               (c)    To resolve all matters related to the rejection, assumption and/or assignment
                      of any Executory Contract or Unexpired Lease of Debtor;

               (d)    To hear and rule upon all Retained Actions, Avoidance Actions and other
                      Causes of Action commenced and/or pursued by Debtor;

               (e)    To hear and rule upon all applications for Professional Compensation;

               (f)    To remedy any defect or omission or reconcile any inconsistency in the
                      Plan, as may be necessary to carry out the intent and purpose of the Plan;

               (g)    To construe or interpret any provisions in the Plan and to issue such orders
                      as may be necessary for the implementation, execution and consummation
                      of the Plan, to the extent authorized by the Bankruptcy Code;

               (h)    To adjudicate controversies arising out of the administration of the Estate
                      or the implementation of the Plan;

               (i)    To make such determinations and enter such orders as may be necessary to
                      effectuate all the terms and conditions of the Plan, including the Distribution
                      of funds from the Estate and the payment of claims;

               (j)    To determine any suit or proceeding brought by Debtor to recover property
                      under any provisions of the Bankruptcy Code;

               (k)    To hear and determine any tax disputes concerning Debtor and to determine
                      and declare any tax effects under the Plan;



                                                21
Case 20-71227-pmb     Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08               Desc Main
                               Document     Page 22 of 28



            (l)     To determine such other matters as may be provided for in the Plan or the
                    Confirmation Order or as may be authorized by or under the provisions of
                    the Bankruptcy Code;

            (m)     To determine any controversies, actions or disputes that may arise under the
                    provisions of the Plan, or the rights, duties or obligations of any Person
                    under the provisions of the Plan;

            (n)     To adjudicate any suit, action or proceeding seeking to enforce any
                    provision of, or based on any matter arising out of, or in connection with,
                    any agreement pursuant to which Debtor sold any of its assets during the
                    Bankruptcy Cases; and

            (o)     To enter a final decree.

            (p)     To enforce and interpret any order or injunctions entered in this Bankruptcy
                    Case.

        iii. Distributions

            (a)     Disbursing Agent. Unless otherwise provided for herein, all Distributions
                    under this Plan shall be made by Debtor or its agent.

            (b)     Distributions of Cash. Any Distribution of Cash made by Debtor pursuant
                    to this Plan shall, at Debtor’s option, be made by check drawn on a domestic
                    bank or by wire transfer from a domestic bank or in any other form of cash
                    or cash equivalent.

            (c)     No Interest on Claims or Interests. Unless otherwise specifically provided
                    for in this Plan, the Confirmation Order, or a post Confirmation agreement
                    in writing between the Debtor and a Holder, postpetition interest shall not
                    accrue or be paid on Claims, and no Holder shall be entitled to interest
                    accruing on or after the Filing Date on any Claim. Additionally, and without
                    limiting the foregoing, interest shall not accrue or be paid on any Disputed
                    Claim in respect of the period from the Effective Date to the date a final
                    determination is made when and if such Disputed Claim becomes an
                    Allowed Claim.

            (d)     Delivery of Distributions. The Distribution to a Holder of an Allowed
                    Claim shall be made by Debtor (a) at the address set forth on the proof of
                    claim filed by such Holder, (b) at the address set forth in any written notices
                    of address change delivered to Debtor after the date of any related proof of
                    claim, (c) at the addresses reflected in the Schedules if no proof of claim
                    has been filed and Debtor has not received a written notice of a change of
                    address, or (d) if the Holder’s address is not listed in the Schedules, at the
                    last known address of such Holder according to the Debtor’s books and

                                               22
Case 20-71227-pmb     Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08               Desc Main
                               Document     Page 23 of 28



                    records. If any Holder’s Distribution is returned as undeliverable, no further
                    Distributions to such Holder shall be made unless and until Debtor is
                    notified by such Holder in writing of such Holder’s then-current address, at
                    which time Debtor shall recommence Distributions to such Holder without
                    interest but further provided that (i) any distributions not claimed within 6
                    months of return shall be irrevocably retained by Debtor and (ii) such
                    Holder shall waive its right to such Distributions.         All Distributions
                    returned to Debtor and not claimed within six (6) months of return shall be
                    irrevocably retained by Debtor notwithstanding any federal or state escheat
                    laws to the contrary.

                    If any Distribution on an Unsecured Claim (“Unsecured Distribution”) is
                    tendered by Debtor to a Holder of an Unsecured Claim and returned, refused
                    or otherwise improperly returned or refused (“Unsecured Distribution
                    Refusal”), Debtor shall not be responsible for making any further
                    Unsecured Distribution on account of such Unsecured Claim. Accordingly,
                    in the event of an Unsecured Distribution Refusal, Debtor shall be relieved
                    of any obligation to make said payment or Distribution and Debtor is
                    relieved of any obligation to make further payments or Distributions on such
                    Unsecured Claim under the Plan.

                    If any Distribution on a Secured Claim or Priority Claim (“Secured or
                    Priority Distribution”) is tendered by Debtor to a Holder of a Secured Claim
                    or Priority Claim and returned, refused or otherwise improperly returned or
                    refused (“Secured or Priority Distribution Refusal”), the Holder of such
                    Secured Claim or Priority Claim, as applicable, shall be deemed to have
                    waived its right to such tendered payment or Distribution and such tendered
                    payment or Distribution shall be deemed satisfied. In the event of a Secured
                    or Priority Distribution Refusal, any obligation of Debtor to make any
                    additional or further payment on such Secured Claim or Priority Claim shall
                    be tolled until such time as: (i) notice is provided to Debtor that the Holder
                    of such Secured Claim or Priority Claim seeks to receive payments from
                    Debtor on the Secured Claim or Priority Claim or otherwise seeks to enforce
                    Debtor’s obligations under the Plan or otherwise enforce the Secured Claim
                    or Priority Claim and (ii) any dispute regarding the Secured or Priority
                    Distribution Refusal and its implications is resolved by agreement of the
                    parties or the Bankruptcy Court (the “Tolling Period”). Only in the event
                    of such notice to Debtor shall Debtor’s obligations to perform as to the
                    applicable Secured Claim or Priority Claim resume. The Tolling Period
                    shall: (i) extend the term of the payments on such Secured Claim or Priority
                    Claim and (ii) bar any interest from accruing on the Secured Claim or
                    Priority Claim until such time as any dispute regarding the Secured or
                    Priority Distribution Refusal shall be resolved by a final order of the court.
                    Notwithstanding anything in the Plan or otherwise to the contrary, no
                    provision allowing the imposition of late fees, default interest, late charges,
                    damages, or costs and fees against the Debtor or the Debtor’s property shall

                                              23
Case 20-71227-pmb         Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08                 Desc Main
                                   Document     Page 24 of 28



                        be applicable during the Tolling Period or any period during which a dispute
                        regarding a Tolling Period is being resolved. For purposes of clarification,
                        Debtor shall not be required to make any lump sum cure of payments or
                        Distributions which would have otherwise come due during the Tolling
                        Period or any period during which a dispute regarding a Tolling Period is
                        unresolved, and Debtor shall recommence Distributions upon the resolution
                        of such on the terms in the Plan as tolled.

                (e)     Distributions to Holders as of the Record Date. All Distributions on
                        Allowed Claims shall be made to the Record Holders of such Claims. As
                        of the close of business on the Record Date, the Claims register maintained
                        by the Bankruptcy Court shall be closed, and there shall be no further
                        change in the Record Holder of any Claim. Debtor shall have no obligation
                        to recognize any transfer of any Claim occurring after the Record Date.
                        Debtor shall instead be entitled to recognize and deal for all purposes under
                        this Plan with the Record Holders as of the Record Date.

                (f)     Fractional Dollars. Any other provision of this Plan notwithstanding, the
                        Debtor shall not be required to make Distributions or payments of fractions
                        of dollars. Whenever any payment of a fraction of a dollar under this Plan
                        would otherwise be called for, at Debtor’s option the actual payment shall
                        reflect a rounding of such fraction to the nearest whole dollar (up or down),
                        with half dollars or less being rounded down.

                (g)     Withholding Taxes. Debtor shall comply with all withholding and reporting
                        requirements imposed by any federal, state, local, or foreign taxing
                        authority, and all Distributions under this Plan shall be subject to any such
                        withholding and reporting requirements.

12.     Confirmation and Consummation Procedure

            a. General Information

        All creditors whose Claims are Impaired by the Plan may cast their votes for or against the
Plan. As a condition to confirmation of the Plan, the Bankruptcy Code requires that one Class of
Impaired Claims votes to accept the Plan. Section 1126(c) of the Bankruptcy Code defines
acceptance of a plan by a Class of Impaired Claims as acceptance by holders of at least two-thirds
of the dollar amount of the class and by more than one-half in number of Claims. Holders of Claims
who fail to vote are not counted as either accepting or rejecting a plan. Voting is accomplished by
completing, dating, signing and filing the ballot form (the “Ballot”) by the Voting Deadline.
Ballots will be distributed to all creditors entitled to vote on the Plan and is part of the Solicitation
Package accompanying the Disclosure Statement. The Ballot indicates (i) where the Ballot is to
be filed and (ii) the deadline by which creditors must file their Ballots.

       In accordance with Article 2.3 of the Plan, unless otherwise specifically provided in a class
under the Plan, in the event of a default by Debtor in payments under the Plan or otherwise, the

                                                   24
Case 20-71227-pmb        Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08               Desc Main
                                  Document     Page 25 of 28



Holder must send written notice (“Default Notice”) to Debtor at the addresses of record for Debtor
as reflected on the docket for this Bankruptcy Case, unless Debtor has provided the Holder with a
written notice of a change of address. Such Default Notice must contain the reason for the default
and if such default is monetary, the amount of the default and amount necessary to cure the default,
as well as notice that Debtor has ten (10) days (in the case of a monetary default) and thirty (30)
days (in the case of a non-monetary default) from receipt by Debtor and Debtor’s counsel of the
Default Notice (or the following business day if the 10th or 30th day does not fall on a business
day) to cure such default (and the address for payment, which will accept overnight deliveries, in
the event of a monetary default). The Holder must send such Default Notice to Debtor via certified
mail or recognized overnight carrier with a copy via email or fax and certified mail or recognized
overnight carrier to Cameron M. McCord (Jones & Walden, LLC) at the address reflected in the
then current directory of the State of Bar of Georgia. Debtor shall have ten (10) days or thirty (30)
days (as applicable) from Debtor’s and Debtor’s counsel’s receipt of the Default Notice to cure
such default. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor of the required
Default Notice. Notwithstanding anything to the contrary in the Plan or otherwise, a default under
one Class of Claims or sub-class of Claims shall not constitute a default under any other Class of
Claims or sub-class of Claims. (For example, a default under Class 4 shall not constitute a default
under Class 1).

         In accordance with Article 2.4 of the Plan, all notices under the Plan shall be in writing.
Unless otherwise specifically provided here in, all notices shall be sent to Debtor via U.S. Certified
Mail Return Receipt or by recognized overnight carrier to the address of record for Debtor in this
Case, unless Debtor has provided such Holder with written notice of change of address for Debtor,
with a copy via email or fax and certified mail Cameron M. McCord at the address reflected in the
then current directory of the State Bar of Georgia. Receipt of notice by Cameron M. McCord
(Jones & Walden, LLC) shall not be deemed receipt by Debtor of the required notice. Notice to
creditors may be provided (a) at the address set forth on the proof of claim filed by such Holder,
(b) at the address set forth in any written notices of address change delivered to Debtor after the
date of any related proof of claim, (c) at the addresses reflected in the Schedules if no proof of
claim has been filed and Debtor has not received a written notice of a change of address, or (d) if
the Holder’s address is not listed in the Schedules, at the last known address of such Holder
according to the Debtor’s books and records. Notices shall be deemed received: (i) on the day
transmitted if sent via fax or email and (ii) on the day delivered if sent via nationally recognized
overnight delivery service or Certified Mail Return Receipt.

           b. Solicitation of Acceptances

       This Disclosure Statement has been approved by the Court as containing “adequate
information” to permit creditors and equity interest holders to make an informed decision whether
to accept or reject the Plan.




                                                 25
Case 20-71227-pmb        Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08               Desc Main
                                  Document     Page 26 of 28



           c. Acceptances Necessary to Confirm the Plan

         At the Confirmation Hearing, the Court shall determine, among other things, whether the
Plan has been accepted by Debtor’s creditors. Impaired classes will be deemed to accept the Plan
if at least two-thirds in amount and more than one-half in number of the Claims in each class vote
to accept the Plan. Furthermore, in such event, unless there is unanimous acceptance of the Plan
by the impaired classes, the Court must also determine that any non-accepting Class will receive
property with a value, as of the Effective Date of the Plan, that is not less than the amount that
such Class would receive or retain if Debtor were liquidated as of the Effective Date of the Plan
under Chapter 7 of the Bankruptcy Code.

           d. Confirmation of Plan Pursuant to Section 1129(b)

        The Bankruptcy Code provides that the Plan may be confirmed even if it is not accepted
by all Impaired classes. To confirm the Plan without the requisite number of acceptances of each
Impaired Class, the Court must find that at least one Impaired Class has accepted the Plan without
regard to the acceptances of insiders, and the Plan does not discriminate unfairly against, and is
otherwise fair and equitable, to any Impaired Class that does not accept the Plan. Accordingly, if
any Impaired Class does not vote to accept the Plan, Debtor will seek to confirm the Plan under
the “cramdown” provisions of section 1129(b) of the Bankruptcy Code.

           e. Considerations Relevant to Acceptance of the Plan

        Debtor’s recommendation that all Creditors should vote to accept the Plan is premised upon
Debtor’s view that the Plan is preferable to other alternatives for reorganization or liquidation of
Debtor’s estate. It appears unlikely to Debtor that an alternate plan of reorganization or liquidation
can be proposed that would provide for payments in an amount greater than the amounts proposed
under the Plan. If the Plan is not accepted, it is likely that the interests of all creditors will be
further diminished.

       Disclaimer

       This Disclosure Statement contains summaries of certain provisions of the Plan, statutory
provisions, documents related to the Plan, events in Debtor’s Chapter 11 case, and financial
information. Although Debtor believes that the Plan and related document summaries are fair
and accurate, such summaries are qualified to the extent that they do not set forth the entire text
of such documents or statutory provisions. Factual information contained in this Disclosure
Statement has been provided by Debtor’s management, except where otherwise specifically noted.
Debtor is unable to warrant or represent that the information contained herein, including the
financial information, is without any inaccuracy or omission. The financial data set forth herein,
except as otherwise specifically noted, has not been subjected to an independent audit.

        Nothing contained herein shall (1) constitute an admission of any fact or liability by any
party, (2) be admissible in any nonbankruptcy proceeding involving Debtor or any other party;
provided, however, that in the event Debtor defaults under the Plan, the Disclosure Statement may
be admissible in a proceeding relating to such default for the purpose of establishing the existence

                                                 26
Case 20-71227-pmb        Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08              Desc Main
                                  Document     Page 27 of 28



of such default, or (3) be deemed conclusive advice on the tax or other legal effects of Debtor’s
Plan as to holders of Claims or Interests. You should consult your personal counsel or tax advisor
on any questions or concerns regarding tax or other legal consequences of the Plan.

         Except for historical information, all the statements, expectations, and assumptions,
including expectations and assumptions contained in this Disclosure Statement, involve a number
of risks and uncertainties. Although Debtor has used its best efforts to be accurate in making these
statements, it is possible that the assumptions made by Debtor may not materialize. In addition,
other important factors could affect the prospect of recovery to Creditors including, but not limited
to, the inherent risks of litigation and the amount of Allowed Claims.

       All Creditors and Interest Holders are advised and encouraged to read this Disclosure
Statement and the Plan in their entirety. Plan summaries and statements made in this Disclosure
Statement are qualified in their entirety by reference to the Plan, any exhibits, and the Disclosure
Statement as a whole.

       This Disclosure Statement has been prepared in accordance with § 1125 of the Bankruptcy
Code and Rule 3016(c) of the Federal Rules of Bankruptcy Procedure and not in accordance with
federal or state securities laws. This Disclosure Statement has neither been approved nor
disapproved by the Securities and Exchange Commission ("SEC"), nor has the SEC passed on the
accuracy or adequacy of the statements contained herein. This Disclosure Statement was
prepared to provide holders of Claims and Interests in Debtor with "adequate information" (as
defined in the Bankruptcy Code) so that they can make an informed judgment about the Plan.

         As to contested matters, adversary proceedings, and other actions or threatened actions,
this Disclosure Statement shall not constitute nor be construed as an admission of any fact or
liability, stipulation, or waiver, but rather as a statement made in settlement negotiations.

        The information contained in this Disclosure Statement is included herein for the purpose
of soliciting acceptances of the Plan and may not be relied upon for any purpose other than to
make a judgment with respect to, and how to vote on, the Plan.




                                                 27
Case 20-71227-pmb       Doc 35    Filed 12/11/20 Entered 12/11/20 15:05:08          Desc Main
                                 Document     Page 28 of 28



        The representations in this Disclosure Statement are those of Debtor. No
representations concerning Debtor are authorized other than as set forth in this statement.
Any representation or inducement made to secure acceptance of this Plan which are other
than as contained in this document should not be relied upon by any Person. The
information contained herein has not been subject to a certified audit. Every effort, however,
has been made to provide adequate financial information in this Disclosure Statement. The
representations by Debtor are not warranted or represent to be without any inaccuracy,
although every effort has been made to be accurate. Neither the Plan nor this Disclosure
Statement has been designed to forecast consequences which follow from a general rejection
of this Plan, although an attempt is made to state the consequences of a liquidation of Debtor.

       Respectfully submitted this 11th day of December, 2020

                                           Good Deed 317, LLC


                                           /s/ Ozzie Areu
                                           By: Ozzie Areu, Manager

                                           JONES & WALDEN, LLC

                                           /s/ Cameron M. McCord
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                                              28
